Case 2:21-cv-12508-JMV-AME Document5 Filed 06/30/21 Page 1 of 2 PagelD: 47

UNITED STATES DISTRICT
Init STRICT OF NEW JERSEY
| 5 3 9 22 7 DISTRICT OF
Plaintiff

BARNABAS HEALTH, INC. D/B/A RWJBH CORPORATE SERVICES INC.

vs DOCKET NO. 2:24-CV-12508-JMV

Defendant
FOUCHSTONE TECHNOLOGY CONSULTING OPS. INC. D/B/A TOUCHSTONE HEALTHCARE
SOLUTIONS., ET AL AFFIDAVIT OF SERVICE
{for use by Private Service)
Person to ba served: TOUCHSTONE TECHNOLOGY Cost of Service pursuant to R4:4-30
AGE NSULTING OPS., INC. D/IBJA TOUCHSTONE HEALTHCARE SOLUTIONS $
ress:

8 BEAVER BROOK ROAD
RIDGEFIELD CT 06877

Attorney:
CONNELL FOLEY LEP.
1085 RAYMOND BLVD. 49TH FLOOR
NEWARK NJ 07402

Papers Served:
CIVIL COVER SHEET SUMMONS & COMPLAINT & EXHIBITS & PLAINTIFF'S CORPORATE DISCLOSURE

STATEMENT

Service Data:

 

Served Successfully Not Served Date: bs bh dott Time: S . iO re Attempts:
Delivered a copy te him/her personally Name of Person Served and relationship/title

____._ Left a copy with a competent household
Lo over 14 years of age residing therein at place of abode.
L

 

 

 

afta copy with a person authorized to accept & |
service, e.g. managing agent, registered agent, etc. B rtién KV) bsd MAMNBE: Pg Regt LED
we { wt - 2
Description of Person Accepting Service:
f Al (2 .
Aqe: lL Height: U Weight: | 10 Hair: i pw y Sex: Mel 4 Race: L/int
Non-Served;

( } Defendant is unknown at the address furnished by the attorney
{ ) All reasonable inquiries suggest defendant moved to an undetermined address

 

 

 

 

 

( }) No such street in municipality .

( } No response on: Date Time

Date Time

Date Time

( } Other: Comments or Remarks
I, Crt ce Rebia , was at

Subscribed and Sworn to me this time of service a competent adult not having a direct =:
id L» day of : hi wet L@ L} Interest in the litigation. | declare under penalty :
! :

of perjury that the foregoing is true and correct,

  

HK? Lp 2%. WE}

 
 

 

   

*Notry Signatyre AMY J CHANTRY [  Signatura of Procass Server Date
"NOTARY PUBLIC
MY COMMISSION EXPIRES 4/31/2023
‘DGR LEGAL, INC. Work OrderNo. 539227

4359 Littleton Road, Morris Plains, NJ 07950-3000

(973) 403-1700 Fax (973) 403-9222 File No. 132975
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

BARNABAS HEALTH, INC.,
Plaintiff

V. SUMMONS IN A CIVIL CASE

TOUCHSTONE TECHNOLOGY
CONSULTING OPS, INC., ET AL.,
Defendant

CASE
NUMBER: 2:21-CV-12508-JMV-—AME

TO: (Name and address of Defendant):

Touchstone Technology Consulting Ops., Inc.
d/b/a Touchstone Healthcare Solutions

8 Beaver Brook Road

Ridgefield, Connecticut 06877

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
—~ or 60 days if you are the United States or a United States Agency, or an office or employee of
the United States described in Fed. R. civ. P. 12 (a)(2) or (3) -— you must serve on the plaintiff
an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

s/ WILLIAM T. WALSH
CLERK

 

 

ISSUED ON 2021-06-15 12:35:51, Clerk
USDC NID
